Case 1:04-cv-01299-.]DT-STA Document 13 Filed 08/16/05 Page 1 of 2 Page|D 25

 

 

 
  
 

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United States District Court Qt;§,gj€ a
WESTERN DISTRICT OF TENNESSEE tiiD£`§g;;i;;-f t “”~'q
Eastern Division "

MARY J. BRooKS JUDGMENT IN A CIV|L CASE

V.

JO ANNE B. BARNHART
Commissioner of Social Security() CASE NUMBER! 04-1299-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

|T |S ORDERED AND ADJUDGED that in compiiance With the order entered in
the above-styled matter on 08/12/05, the decision of the Commissioner is AFFiR|\/iED
and this case is hereby D|S|V|iSSED.

APPROVED:

WO»Q¢M

LYAES D. ToDD
ITED STATES DlSTRICT JUDGE

THOMAS M. GOULD
CLERK '

@/iloj©$ BY; C.M

DATE ‘ DEPUTY CLERK

This document entered on the docket sheet in compliance

with Rule 58 and/or rs(a) FRcP on X“W"§"{ . @

 

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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

